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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 PROFESSIONAL FIGHTERS LEAGUE, INC.

                               Plaintiffs,
                                                      Case No. 1:24-cv-01335-VEC
        v.
                                                      NOTICE OF MOTION TO DISMISS
TAKEOVER INDUSTRIES, INC. a/k/a NXT                   PURSUANT TO RULE 12(b)(6)
LVL,
                      Defendants.




       PLEASE TAKE NOTICE that upon the Declaration of Patrick R. Morris, Esq., dated

May 13, 2024, with attached exhibits, and the accompanying Memorandum of Law, Defendant,

Takeover Industries, Inc., will move this Court, at a date and time to be determined by this Court,

pursuant to Federal Rule of Civil Procedure 12(b)(6) for an order dismissing in full, and

with prejudice, Plaintiff’s Second Amended Complaint, and for such other relief as this Court

deems just and proper.



   Dated:      May 13, 2024                         Yours, etc.,
               New York, New York
                                                    MORRIS LEGAL CORP.

                                                    /s/ Patrick Ryan Morris

                                                    PATRICK RYAN MORRIS, ESQ.
                                                    28 Laight Street, 2A
                                                    New York, NY 10013-2143
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